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                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:                                       :
         MARY JANE SMITH                     :        Chapter 13
                                             :
                       Debtor                :       Bankruptcy No. 20-10694 PMM



     NOTICE OF OBJECTION TO PROOF OF CLAIM NO. 4 AND HEARING DATE

        Mary Jane Smith, by and through her attorney, David S. Gellert, Esquire, of David S.
Gellert, P.C., has filed an Objection to the Proof of Claim you filed in this bankruptcy case.

1.       Your claim may be reduced, modified, or eliminated. You should read these papers
         carefully and discuss them with your attorney, if you have one. (If you do not have
         an attorney, you may wish to consult an attorney.)

2.       If you do not want the court to change or eliminate your claim, you or your lawyer
         must attend the hearing on the Objection scheduled to be held on Thursday, July 14,
         2022 at 11:00 A.M. in Courtroom Fourth Floor, U.S. Bankruptcy Court, The Gateway
         Building, 201 Penn Street, Reading, PA 19601. If you or your attorney do not attend the
         hearing on the Objection, the court may decide that you do not oppose the Objection to
         your claim.

3.       If you intend to appear at the hearing to contest the Objection to your claim, you must
         notify the person listed below at least seven (7) day before the hearing date. If you
         do not notify the person listed below that you intend to appear, the Objector will be
         entitled to a postponement of the hearing.

Dated: June 7, 2022                            s/ David S. Gellert
                                             David S. Gellert, Esquire
                                             David S. Gellert, P.C.
                                             3506 Perkiomen Avenue
                                             Reading, PA 19606
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